 Case 1:01-cv-12257-PBS Document 7155-11 Filed 06/29/10 Page 1 of 4




                               Exhibit K
United States of America ex rel. Ven-a-Care of the Florida Keys, Inc. v. Dey, Inc., et al.,
                           Civil Action No. 05-11084-PBS

        Exhibit to Plaintiff’s Memorandum In Support of United States’ Motion
             In Limine Regarding Testimony of Raymond C. Winter and
                          Sequencing of Deposition Testimony
Case 1:01-cv-12257-PBS Document 7155-11 Filed 06/29/10 Page 2 of 4
Case 1:01-cv-12257-PBS Document 7155-11 Filed 06/29/10 Page 3 of 4
Case 1:01-cv-12257-PBS Document 7155-11 Filed 06/29/10 Page 4 of 4
